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    1   Regina A. Petty (SBN 106163)
           E-Mail: rpetty@fisherphillips.com
    2   Adam F. Sloustcher (SBN 291657)
    3
           E-Mail: asloustcher@fisherphillips.com
        FISHER & PHILLIPS LLP
    4   4747 Executive Drive, Suite 1000
        San Diego, California 92121
    5   Telephone: (858) 597-9600
        Facsimile: (858) 597-9601
    6

    7   Attorneys for Defendant
        Palomar Community College District
    8

    9                         UNITED STATES DISTRICT COURT

   10                       SOUTHERN DISTRICT OF CALIFORNIA

   11   KATHRYN KAILIKOLE, an                      Case No: 3:18-cv-02877-AJB-MSB
        individual,
   12                                              [Previously San Diego Superior Court
   13                        Plaintiff,            Case No. 37-2018-00058754-CU-WT-NC
                                                   before the Honorable Ronald F. Frazier]
   14          v.
                                                   DEFENDANT PALOMAR
   15   PALOMAR COMMUNITY                          COMMUNITY COLLEGE
   16
        COLLEGE DISTRICT, a                        DISTRICT’S MEMORANDUM OF
        governmental entity; and DOES 1            POINTS AND AUTHORITIES IN
   17   through 25, inclusive,                     SUPPORT OF MOTION TO DISMISS
                                                   PURSUANT TO F.R.C.P. RULES
   18                        Defendants.           12(B) AND 12(B)(6)
   19                                              Date: April 4, 2019
   20                                              Time: 2:00 p.m.

   21                                              State Complaint: November 20, 2018
                                                   Removed: December 26, 2018
   22

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                                           DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
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    1                 MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.     INTRODUCTION
    3          This is an employment lawsuit filed by Plaintiff Kathryn Kailikole, a former
    4   public employee, against Defendant Palomar Community College District (the
    5   “District”), a public entity. Plaintiff was employed by the District as Dean,
    6   Instructional, of Mathematics and the Natural and Health Sciences. Plaintiff claims
    7   that she was terminated from her position for various unlawful reasons. However,
    8   this could not be further from reality. The basis for Plaintiff’s discharge was
    9   summarized by the District’s Assistant Superintendent/Vice President, Instruction
   10   as follows:
   11          Your complete inability to meet work deadlines, difficulty
   12          collaborating with your colleagues, inadequate supervision of staff,
   13          failure to properly oversee grants awarded to your division and
   14          improper disclosure of confidential personnel information has had a
   15          negative impact on your division, your colleagues and the District.
   16          Your actions have compromised the integrity of this institution,
   17          placed the District at risk of losing grant funding, and has increased
   18          my workload and the workloads of your colleagues who are required
   19          to perform duties that you are responsible for performing. Despite
   20          numerous times you have been counseled, your continued failure to
   21          meet deadlines, abide by my directives, properly manage your staff
   22          and workload, and work in a positive and collaborative manner with
   23          your colleagues warrants termination.
   24          Prior to her termination, Plaintiff was given multiple opportunities to contest
   25   the proposed disciplinary action against her. Plaintiff received a “Notice of
   26   Proposed Discharge” which laid out all of the reasons why the Board was
   27   recommending her discharge. The “Notice of Proposed Discharge” advised
   28   Plaintiff of her right to attend an informal pre-disciplinary Skelly conference prior
                                                   1
                                        DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
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    1   to the imposition of the disciplinary action. Plaintiff did not confirm or attend the
    2   meeting and waived her right to a pre-disciplinary (Skelly) conference regarding
    3   her proposed termination. The “Notice of Proposed Discharge” also advised
    4   Plaintiff of her right, upon written request, to an evidentiary hearing, but Plaintiff
    5   did not request and, therefore, waived her right to the evidentiary hearing. Given
    6   Plaintiff’s supervisory position and ability to discipline faculty members, she was
    7   undoubtedly aware of the consequences for failing to respond to the “Notice of
    8   Proposed Discharge.” After over a month of hearing no response from Plaintiff, the
    9   Governing Board, a five-member board elected by the public, took final action by
   10   unanimous vote to terminate Plaintiff’s employment.
   11            Now, having ignored the District’s attempts at informal resolution, Plaintiff
   12   attempts to hail the District into court to litigate the instant claims. However,
   13   Plaintiff’s claims are barred because Plaintiff fails to allege facts sufficient facts to
   14   show that she is entitled to relief under any of her claims. Accordingly, Defendant’s
   15   motion to dismiss should be granted.1
   16   II.    FACTUAL BACKGROUND
   17          A.      The Board’s personnel decisions are governed by the Education
   18                  Code and the District’s Administrative Association Handbook
   19          Education Code Section 70902 mandates that “every community college
   20   district shall be under the control of a board of trustees, which is referred to as the
   21   ‘governing board.’” “The Governing Board shall establish, maintain, operate, and
   22   govern the community colleges within the district. Id.” In carrying out its powers
   23   and duties, the governing board of each community college district retains full
   24   authority to adopt rules and regulations that are necessary and proper to executing
   25   these prescribed functions.” Id. The Palomar Community College District is
   26

   27   1
          Further, the District contends that the gravamen of Plaintiff’s claims arise from protected
        activity pursuant to California Code of Civil Procedure section 425.16 and reserves its rights to
   28   timely file a Special Motion to Strike Plaintiff’s Complaint.
                                                       2
                                            DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
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    1   governed by a five-member Governing Board elected to four-year terms by voters
    2   in the District, which serves 2,500 square miles of northern San Diego County.
    3   (Declaration of Lisa Norman (“Norman Decl.”), par. 2).
    4          Further, the California Education Code governs the District’s ability to
    5   terminate an employee. See Cal. Educ. Code. section 87732. Section 87732
    6   provides, in pertinent part, “no regular employee or academic employee shall be
    7   dismissed except for… immoral or unprofessional conduct; dishonesty;
    8   unsatisfactory performance; or evident unfitness for service.” Id.
    9          The District’s discipline of employees is also governed by the District’s
   10   Administrative Association Handbook (“the Handbook”). (Request for Judicial
   11   Notice (“RJN”), Exh. A, p. 10.2; Norman Decl., par. 4, Exh. A, p.103). Pursuant to
   12   the Handbook, an administrator may be disciplined for cause. (RJN, Exh. A, pp.
   13   13; Norman Decl., par. 4, Exh. A, pp. 13). The term “cause” is defined as “those
   14   actions, omissions or behaviors which are detrimental to the operations of the
   15   District and/or its major instructional student and administrative divisions or which
   16   impair the District’s mission, purpose and objectives.” (Id.) The Handbook also has
   17   a provision specifically addressing the District’s disciplinary and grievance
   18   procedures:
   19
               [W]ritten notice of the proposed disciplinary action [will be given] to
   20          the employee . . . The notice will be served at least ten (10) working
   21
        2
   22     The Court may properly take judicial notice of Exhibits A through E to the RJN because they
        are public records. Judicially noticed facts often consist of matters of public record. See, Merced
   23   Irr. Dist. v. County of Mariposa (E.D. Cal. 2013) 941 F.Supp.2d 1237, 1262. Further, California
        Government Code Section 6252, subdivision (d) defines public records within the meaning of
   24   the California Public Records Act as “any writing containing information relating to the conduct
        of the public's business prepared, owned, used, or retained by any state or local agency regardless
   25   of physical form or characteristics.” Id (holding that agreement between county and irrigation
        district was a public record); Braun v. City of Taft (1984) 154 Cal.App.3d 332, 340 (letter
   26   appointing public employee to position and letter subsequently demoting employee from the
        position were both public records).
   27   3
          Courts considering “nonenumerated” Rule 12(b) motions may look beyond the pleadings and
        decide disputed issues of fact. Bilyeu v. Morgan Stanley Long Term Disability Plan, (9th Cir.
   28   2012) 683 F.3d 1083, 1088.
                                                        3
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    1          days prior to the date when discipline may be imposed. . . The notice
    2          must contain the following information:

    3                  ii. The specific disciplinary action proposed
    4                  ...
                       iv. A statement that the employee has the right to respond to the
    5                  matters raised in the notice both orally and in writing including
    6                  the submission of affidavits, within ten (10) workdays
                       following the date written notice was served.
    7                  ...
    8                  vi. A statement that the employee, upon written request, is
                       entitled to an evidentiary hearing before the Board or a hearing
    9                  officer designated by the Board.
   10                  …
                       x. In the absence of a timely demand for a hearing, the Board
   11                  may act upon the proposed disciplinary action after the time
   12                  period for hearing demand has expired.”
   13   (RJN, Exh. A, p. 13-15; Norman Decl., par. 4, Exh. A, p. 13-15).

   14          B.      Plaintiff was terminated due to longstanding issues of poor work

   15                  performance, neglect of responsibility, and misconduct

   16          Plaintiff had a history of poor work performance and had been repeatedly

   17   counseled about her failure to meet deadlines, failure to work collaboratively with

   18   her colleagues, failure to follow directives and overall unsatisfactory work

   19   performance. (RJN, Exh. A, p. 1-5; Norman Decl., par. 4, Exh. A, p. 1-5).

   20   Plaintiff’s Supervisor, Assistant Superintendent and Vice President of Instruction,

   21   Mr. Jack Kahn, met with Plaintiff numerous times regarding the neglect of her

   22   responsibilities and poor work performance, however Plaintiff continued to fail to

   23   adequately perform her job duties. (Id.) The deficiencies in Plaintiff’s job

   24   performance included:

   25      • In October 2017, Plaintiff missed a deadline for submitting the paperwork
   26        necessary to schedule interviews for the Assistant Professor, Computer
             Science Position, which jeopardized the hiring process and nearly resulted
   27        in the loss of qualified candidates;
   28
                                                   4
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    1      • Despite being reminded multiple times, Plaintiff failed to timely review
    2        programming and planning reports for the disciplines in her division,
             resulting in extra work for her colleagues;
    3

    4      • In December 2017, despite receiving several email reminders and reports
             from other divisions as examples, Plaintiff missed the deadline for
    5        submitting her Annual Division Update Report;
    6
           • Plaintiff was several weeks late in providing Spring 2018 class schedules to
    7
             Mr. Kahn, resulting in Mr. Kahn having to take over Plaintiff’s normal duties
    8        so that she could finish the scheduling;
    9
           • In overseeing the CCC Grant, Plaintiff repeatedly failed to respond to
   10        Professor Mark Bealo’s Requests for information regarding remaining
             funds, which he wanted to use to purchase equipment and technology. Mr.
   11
             Bealo complained that despite several emails to Plaintiff’s administrative
   12        assistant, he had received only one response which stated that she was “not
             sure what is going to be done with the remaining funds.” Mr. Bealo was
   13
             rightfully frustrated, as the funds would need to be returned if they were not
   14        used within the then upcoming deadline of four days;
   15
           • Plaintiff failed to adequately oversee a Title V/HIS/STEM grant, which
   16        placed the District at risk of losing the funding. This affected the STEM
   17
             center and the Math Center, which rely heavily on the funding, as well as the
             District’s relationship with the California State University at San Marcos
   18        (“CSUSM”), which shares the Title V grant with the District.
   19
                   o Specifically, despite being more than one year into the grant,
   20                Plaintiff had Plaintiff had not assigned any of the release time funded
   21                by the grant and several full time grant funded positions remained
                     unfilled;
   22

   23      • STEM Center Supervisor Mireya Gutierrez-Aguero complained that
             Plaintiff’s conduct during the STEM conference in 2017 was so demeaning
   24        and disrespectful that she could not work with Plaintiff again to plan the
   25        Conference in 2018, even threatening to quit her position if she was
             compelled to do so;
   26

   27      • In April 2016, Plaintiff received student complaints that Professor Takashi
             Nakajima allowed students to shoot an Airsoft pistol in his classroom as an
   28        experiment without taking property safety precautions. However, Plaintiff
                                                5
                                        DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
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    1           never took any action to initiate an administrative investigation into the
    2           incident and failed to notify HR until November 2017, more than eighteen
                months later;
    3

    4      • Despite reports that a faculty member under her supervision was violating
             the Education Code and various directives, - and requests from Human
    5        Resources Services that Plaintiff follow up on the complaints – Plaintiff
    6        failed to follow up regarding the complaints or take any action to try to
             confirm the conduct in the complaints;
    7

    8      • Plaintiff forwarded confidential information relating to Professor Nakajima
             and Professor George Gerwig’s employment to the Chair of the Engineering
    9        Department, Dr. Finkenthal. In turn, Dr. Finkenthal forwarded that
   10        information to his wife, a member of the Governing Board at CSUSM and
             members of the Palomar City College Governing Board, in order to try to
   11        facilitate Professors Nakajima and Gerwig’s termination;
   12
        (Id.)
   13
                Plaintiff’s actions compromised the integrity of the District as an institution,
   14
        placed the District at risk of losing grant funding, and increased the workload of
   15
        her supervisors and colleagues who had to take over her responsibilities when she
   16
        failed to meet deadlines and perform her job duties. (Id.) Despite the numerous
   17
        times Plaintiff was counseled, her continued failure to meet deadlines, properly
   18
        manage her staff and workload, and work in a positive and collaborative manner
   19
        with her colleagues warranted her termination. (Id.)
   20
                C.     Plaintiff was terminated in accordance with the Education Code
   21
                       and the District’s Disciplinary and Grievance Procedures
   22
                As a result of Plaintiff’s continuous unsatisfactory, Plaintiff was
   23
        recommended for discharge by Jack Kahn, Ph.D., Assistant Superintendent/Vice
   24
        President, Instruction. (RJN, Exh. A, p. 1; Norman Decl., par. 4, Exh. A, p. 1). Prior
   25
        to her termination, Plaintiff was given multiple opportunities to contest the
   26
        proposed disciplinary action against her. (RJN, Exh. A, p. 6; RJN, Exh. B; RJN,
   27
        Exh. C; RJN Exh. D; RJN, Exh. E; Norman Decl., par. 4, Exh. A, p. 6; Norman
   28
                                                   6
                                          DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
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    1   Decl., par. 6-9, Exh. B-E). Plaintiff received a “Notice of Proposed Discharge”
    2   which laid out all of the reasons why the Board was recommending her discharge.
    3   (RJN, Exh. A; Norman Decl., par. 4, Exh. A).
    4           The “Notice of Proposed Discharge,” advised Plaintiff of her right to have a
    5   formal pre-disciplinary Skelly hearing, prior to the imposition of the disciplinary
    6   action. (RJN, Exh. A, p. 6; Norman Decl., par. 4, Exh. A, p. 6). The Skelly hearing
    7   was scheduled for May 16, 2018 at 10:30 a.m. (Id.) Plaintiff was advised that she
    8   needed to confirm her attendance at the Skelly hearing within ten days of receiving
    9   the “Notice of Proposed Discharge.” (Id.) Plaintiff did not confirm her attendance
   10   or attend the Skelly hearing. (RJN, Exh. E; Norman Decl., par. 9, Exh. E).
   11           In addition to her right to a Skelly hearing, Plaintiff was notified of her right
   12   to an evidentiary hearing before the Governing Board or a hearing officer
   13   designated by the Board. (RJN, Exh. A, p. 6; Norman Decl., par. 4, Exh. A, p. 6).
   14   Attached to the “Notice of Proposed Discharge,” Plaintiff was given a form to fill
   15   out in order to request such a hearing. (Id.) Plaintiff was advised in bold and all
   16   capital letters that:
   17           “FAILURE         TO     FILE     A       TIMELY     REQUEST         FOR      AN
   18           EVIDENTIARY HEARING SHALL MEAN THAT YOU HAVE
   19           WAIVED YOUR RIGHT TO AN EVIDENTIARY HEARING …”
   20   (Id.)
   21           Nevertheless, Plaintiff never requested an evidentiary hearing or otherwise
   22   responded to the District in light of the “Notice of Proposed Discharge.” (RJN,
   23   Exh. E; Norman Decl., par. 9, Exh. E). After over a month of hearing no response
   24   from Plaintiff, the Governing Board took final action by unanimous vote to
   25   terminate Plaintiff’s employment. (RJN, Exh. B; RJN, Exh. C; RJN Exh. D; Exh.
   26   E; Norman Decl., par. 6-9, Exh. B-E).
   27   ///
   28   ///
                                                     7
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    1   III.    ARGUMENT
    2          A.      Legal Standard
    3                  1.   Motion to Dismiss for Failure to State a Claim
    4          A dismissal under Rule 12(b)(6) “can be based on the lack of a cognizable
    5   legal theory or the absence of sufficient facts alleged under a cognizable legal
    6   theory.” Balistreri v. Pacifica Police Dep’t (9th Cir.1990) 901 F.2d 696, 699.
    7   Where the plaintiff fails to allege “enough facts to state a claim to relief that is
    8   plausible on its face,” the complaint may be dismissed for failure to allege facts
    9   sufficient to state a claim upon which relief may be granted. Bell Atlantic
   10   Corp. v. Twombly (“Twombly”) (2007) 550 U.S. 544, 570; Fed. R. Civ. P. 12(b)(6).
   11   Such a dismissal will be granted when the plaintiff cannot plausibly allege a set of
   12   facts supporting relief. Guerrero v. Gates (9th Cir. 2004) 357 F.3d 911, 916. “The
   13   plausibility standard is not akin to a probability requirement, but it asks for more
   14   than a sheer possibility that a defendant has acted unlawfully . . . . When a
   15   complaint pleads facts that are merely consistent with a defendant’s liability, it
   16   stops short of the line between possibility and plausibility of entitlement to relief.”
   17   Ashcroft v. Iqbal (“Iqbal”) (2009) 556 U.S. 662, 678 (quoting Twombly, supra,
   18   550 U.S. at 557) (internal citations omitted).
   19          While the court accepts all material facts alleged in the complaint as true and
   20   construes them in the light most favorable to the plaintiff in considering a motion
   21   to dismiss, Knievel v. ESPN (9th Cir. 2005) 393 F.3d 1068, 1072, the court need
   22   not accept conclusory allegations, allegations contradicted by exhibits attached to
   23   the complaint, unwarranted deductions of fact, or unreasonable inferences.
   24   Daniels–Hall v. National Educ. Ass’n (9th Cir. 2010) 629 F.3d 992, 998; see also,
   25   Iqbal, supra, 556 U.S. at 678 (“threadbare recitals of the elements of a cause of
   26   action, supported by mere conclusory statements,” are not accepted as true.);
   27   Epstein v. Wash. Energy Co. (9th Cir. 1996) 83 F.3d 1136, 1140 (“[C]onclusory
   28   allegations of law and unwarranted inferences are insufficient to defeat a motion to
                                                8
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    1   dismiss”). Moreover, the factual allegations in the complaint must be “enough to
    2   raise a right to relief above the speculative level . . . .” Twombly, supra, 550 U.S.
    3   at 555. “[O]nly a complaint that states a plausible claim for relief survives a motion
    4   to dismiss.” Iqbal, supra, 556 U.S. at 679.
    5                  2.    Nonenumerated Grounds for Motion to Dismiss
    6          A cause of action may also be dismissed pursuant to Rule 12(b) on
    7   nonenumerated grounds, based on a Defendant’s defenses. Bilyeu v. Morgan
    8   Stanley Long Term Disability Plan (9th Cir. 2012) 683 F.3d 1083, 1088; Irvin v.
    9   Zamora (S.D. Cal. 2001) 161 F.Supp.2d 1125, 1128. For example, a
   10   nonenumereated motion to dismiss is the appropriate procedural method for raising
   11   the defense of failure to exhaust administrative remedies. Bilyeu v. Morgan Stanley
   12   Long Term Disability Plan, supra, 683 F.3d at 1088. Likewise, a nonenumerated
   13   motion to dismiss lies where defendant has an absolute defense of immunity.
   14   Albino v. Baca (9th Cir. 2014) 747 F3d 1162, 1170. Courts considering
   15   “nonenumerated” Rule 12(b) motions may look beyond the pleadings and decide
   16   disputed issues of fact. Bilyeu v. Morgan Stanley Long Term Disability Plan, supra,
   17   683 F.3d at 1088; Irvin v. Zamora, supra, F.Supp.2d at 1128.
   18          B.      Plaintiff’s First and Second Causes of Action Should be Dismissed
   19                  Because Plaintiff Did Not Engage in Protected Activity
   20          Title IX of the Education Amendments of 1972 prohibits retaliatory
   21   employment actions based on an employee’s complaints about sex discrimination.
   22   20 U.S.C. §1681; Jackson v. Birmingham, 544 U.S. 167 (2005). Similarly, Title VI
   23   of the Civil Rights Act of 1964, prohibits discrimination and retaliation on the bases
   24   of race, color, or national origin in programs or activities receiving federal financial
   25   assistance. 42 U.S.C. § 2000(d). “To plead a prima facie case of retaliation, the
   26   plaintiff must allege that (1) [she] engaged in a protected activity; (2) the federally-
   27   funded recipient took an adverse action against [her]; and (3) the adverse action
   28   was causally linked to the protected activity.” Burch v. Regents of University of
                                                9
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    1   California (E.D. Cal. 2006) 433 F.Supp.2d 1110, 1125-1126.
    2          Plaintiff’s retaliation claims require that she show that she engaged in some
    3   protected activity. Plaintiff cannot make such a showing. As Dean, Plaintiff was
    4   charged with addressing issues concerning her staff, including issues of student
    5   safety and welfare. (See RJN, Exh. A, pp.1-5 and 124-128 [pages 41-45 of Ex. 10,
    6   Interview Transcript]; Norman Decl., par. 4, Exh. A, pp.1-5 and 124-128 [pages
    7   41-45 of Ex. 10, Interview Transcript]). Plaintiff was well aware of her duties and
    8   she exercised them several times – as evidenced by her recognition for doing so in
    9   her performance review. (Complaint, ¶ 47). Evidence showing that an employee
   10   was merely doing their job is insufficient to support a retaliation cause of action.
   11   See Patten v. Grant Joint Union High School Dist. (2005) 134 Cal. App.4th 1378,
   12   1384-1385; Garcetti v. Ceballos, (2006) 547 U.S. 410; Edgerly v. City of Oakland
   13   (2012) 211 Cal.App.4th 1191, 1203, as modified (Dec. 13, 2012).
   14          The United States Supreme Court, in Garcetti v. Ceballos, (2006) 547 U.S.
   15   410, held that complaints made within the scope of an employee’s job cannot
   16   constitute protected conduct to support a retaliation claim. Id at 421–24. While
   17   neither California District Courts nor the Ninth Circuit has had occasion to expand
   18   on the Supreme Court’s ruling in Garcetti in the federal civil rights context, our
   19   sister circuits have expressed discernment. Some courts in our sister circuits refer
   20   to the rule in Garcetii as the “manager rule.” Under the manager rule, “in order to
   21   state a retaliation claim, complaints made within the scope of an employee’s job
   22   cannot constitute protected conduct.” See Skare v. Extendicare Health Servs., Inc.,
   23   515 F.3d 836, 841 (8th Cir. 2008) (applying manager rule in suit brought under
   24   state whistleblower statute by a nurse whose duties included ensuring legal
   25   compliance and reporting unlawful behavior); EEOC v. HBE Corp., 135 F.3d 543,
   26   554 (8th Cir. 1998) (applying manager rule in Title VII retaliation suit brought by
   27   an employment manager and personnel director whose duties included
   28   implementing company policy). McKenzie v. Renberg’s, Inc., 94 F.3d 1478, 1486–
                                           10
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    1   87 (10th Cir. 1996) (“a requirement of ‘stepping outside’ a normal role is satisfied
    2   by a showing that the employee took some action against a discriminatory policy.”)
    3          Moreover, California District Courts have found Mckenzie persuasive as to
    4   defining protected activity under California Labor Code section 1102.5. See Muniz
    5   v. United Parcel Service, Inc. (N.D. Cal. 2010) 731 F.Supp.2d 961, 970; Lund v.
    6   Leprino Foods Co. (E.D. Cal., June 20, 2007, No. CIVS060431WBSKJM) 2007
    7   WL 1775474, at *8 (holding that employee did not engage in protected activity
    8   when he reported an illegal spill because such reports were a part of his basic job
    9   responsibilities).
   10          In the FLSA context, the Ninth Circuit held that “[t]o fall within the scope
   11   of the antiretaliation provision, a complaint must be sufficiently clear and detailed
   12   for a reasonable employer to understand it, in light of both content and context, as
   13   an assertion of rights protected by the statute and a call for their protection.”
   14   Rosenfield v. GlobalTranz Enterprises, Inc. (9th Cir. 2015) 811 F.3d 282, 286.
   15   “The employee’s job title and responsibilities—in particular, whether he or she is
   16   a manager—form an important part of that “context.” Id. The Court continued,
   17
               “Managers are in a different position vis-a-vis the employer than are
   18
               other employees because their employer expects them to voice work-
   19          related concerns and to suggest changes in policy to their superiors.
   20
               [Thus], a reasonable employer almost certainly would not understand
               that report as a ‘complaint’. . . Rather, the employer naturally would
   21          understand the manager’s report as carrying out his or her duties. In
   22
               short, when determining whether an employee has ‘filed any
               complaint,’ the employee’s role as a manager often is an important
   23          contextual element.”
   24   Id.
   25          Accordingly, when Plaintiff reported alleged sex discrimination on behalf of
   26   students by Professors Nakajima and Gerwig, she was not engaged in a protected
   27   activity. Rather, she was acting in accordance with her job duties. See McKenzie v.
   28   Renberg’s, Inc., supra, 94 F.3d at 1486 (“in order to engage in protected activity
                                               11
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    1   … an employee must step outside of his or her role of representing the [employer]
    2   and file or threaten to file an action adverse the employer…”) Plaintiff does not -
    3   because she cannot - allege how her required reports regarding professors whom
    4   she supervised as Dean were any different than reports of other faculty misconduct
    5   that she made in the past as part of her job duties. Plaintiff alleges no other facts to
    6   suggest that she “stepped out of her role” as Dean and reported these alleged
    7   violations under any other circumstance sufficient to put the District on notice that
    8   she was engaging in protected activity. As such, Plaintiff fails to establish that she
    9   engaged in protected activity under Title VI or Title IX and these claims should be
   10   dismissed.
   11          C.      Plaintiff’s Third, Fourth, Fifth, and Sixth Causes of Action
   12                  Should be Dismissed Because The District is Immune From
   13                  Liability in Connection With the Alleged Claims
   14          Plaintiff alleges several causes of action under the California Fair
   15   Employment and Housing Act. Government Code §12940 et seq. Plaintiff’s FEHA
   16   claims for discrimination and retaliation stem from members of the Governing
   17   Board for the District exercising their power to make discretionary personnel
   18   decisions. However, California Government Code § 820.2 provides as follows:
   19          “Except as otherwise provided by statute, a public employee is not
   20          liable for an injury resulting from his act or omission where the act or
               omission was the result of the exercise of the discretion vested in him,
   21          whether or not such discretion be abused.”
   22

   23          Section 821.6 provides as follows:
   24          “A public employee is not liable for injury caused by his instituting or
               prosecuting any judicial or administrative proceeding within the scope
   25
               of his employment, even if he acts maliciously and without probable
   26          cause.”
   27   ///
   28   ///
                                                  12
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    1          Finally, section 815.2 provides as follows:
    2          “A public entity is not liable for an injury resulting from an act or
               omission of an employee of the public entity where the employee is
    3
               immune from liability.”
    4
               The California Supreme Court specifically held that section 820.2
    5
        affords immunity to public employees for FEHA claims. Caldwell v. Montoya
    6
        (1995) 10 Cal.4th 972; see also Kemmerer v. County of Fresno (1988) 200
    7
        Cal.App.3d 1426 (holding that a supervisor in a public entity is immune under
    8
        section 820.2 for disciplinary decisions made concerning a subordinate);
    9
        Kayfetz v. State (1984) 156 Cal.App.3d 491, 496-99 (affirming judgment on
   10
        the pleadings and holding public entity and administrator were immune from
   11
        liability for publishing disciplinary report regarding the plaintiff’s discipline).
   12

   13          In Caldwell, the plaintiff sued individual members of an elected school board
   14   alleging age and race discrimination in violation of FEHA, as well as for retaliatory
   15   discharge in violation of public policy. Caldwell v. Montoya, supra,10 Cal.4th at
   16   975-976. The California Supreme Court affirmed the sustaining of a demurrer and
   17   held that §820.2 affords “discretionary act immunity to the individual board
   18   members against both the common law and FEHA causes of action stated in
   19   plaintiff’s complaint.” Id at 976. The Court found that decisions by school board
   20   members to not renew a superintendent’s employment contract were discretionary
   21   acts under §820.2 because “the collective determination whether to hire or fire a
   22   person as the district’s superintendent must be considered a basic policy decision.”
   23   Id. at 983.
   24          Similarly, in Kemmerer, the court found that Government Code §§ 821.6 and
   25   820.2 immunize supervisors from tort liability for personnel decisions and affirmed
   26   a judgment of dismissal following an order sustaining a demurrer without leave to
   27   amend. Kemmerer v. County of Fresno, supra, 200 Cal.App.3d at 1437. In that
   28   case, the plaintiff also had a cause of action for intentional infliction of emotional
                                                  13
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    1   distress against the county and his two supervisors, the director and assistant
    2   director of social services. Id at 1436-39. Specifically, the plaintiff complained that
    3   his supervisors acted unlawfully when they instigated an investigation of plaintiff’s
    4   misconduct, made the decision to take disciplinary action and then decided to
    5   terminate plaintiff. Id. The Court of Appeal aptly explained its reasoning for finding
    6   that supervisors are immune under these circumstances:
    7          “If every public entity employee who was found to have committed an
               act of misconduct and later disciplined were allowed to bring a tort
    8
               action against his coworkers and superiors, this would certainly bode
    9          ill for the continuing efficiency and morale of the civil service system.
               Supervisors within the civil service system would not be able to fulfill
   10
               their function without the overhanging threat of legal action from
   11          employees who become subject to discipline.”
   12          Id. at 1439. Moreover, the court explained, “though sections 821.6 and 820.2
   13   expressly immunize only a decision making employee, if the employee is immune,
   14   so too is the County.” Id at 1435.
   15          Here, Caldwell and Kemmerer are instructive and immunity extends to the
   16   District even though no individual defendants are named in the instant lawsuit. As
   17   in Caldwell and Kemmerer, the District’s alleged misconduct was connected to the
   18   potential initiation of internal grievance administrative proceedings relating to
   19   disciplining Plaintiff for her poor work performance. The Governing Board’s
   20   unanimous vote to terminate Plaintiff’s employment resulted from each individual
   21   member’s use of discretion in furtherance of their official duties. Thus, the
   22   individual members of the Board of Governors are immune from liability pursuant
   23   to Government Code sections 820.2 and 821.6. Pursuant to Government Code
   24   §815.2, the District must also therefore be immune as well. City of Huntington
   25   Beach v. Board of Administration (1992) 4 Cal.4th 462, 468 (the provisions of the
   26   California Government Code are in pari materia and must be read together and
   27   construed in a manner that gives effect to each).
   28   ///
                                                  14
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    1          D.      Plaintiff’s Fourth, Fifth, and Sixth Causes of Action Fail as a
    2                  Matter of Law Because Plaintiff Did Not Suffer a FEHA-
    3                  Recognized Disability
    4          Plaintiff brings three disability-related causes of action under the FEHA:
    5   disability discrimination; failure to accommodate; and, failure to engage in the
    6   interactive process. (See Complaint ¶¶ 104-123.) In order to state her disability-
    7   related claims under FEHA, Plaintiff must show that she suffered from a FEHA-
    8   recognized disability. Diaz v. Federal Express Corp. (C.D. Cal. 2005) 373
    9   F.Supp.2d 1034, 1047. Indeed, the FEHA provides that it is an unlawful
   10   employment practice for an employer, because of mental disability, to retaliate or
   11   discriminate against an employee in the terms, conditions, or privileges of
   12   employment. Government Code §12940 et seq.
   13          Workplace stress related to an employee’s job performance is not a
   14   cognizable disability under FEHA. Higgins-Williams v. Sutter Medical Foundation
   15   (2015) 237 Cal.App.4th 78, 84-86. In Higgins, the plaintiff employee’s alleged
   16   disability was an inability to work under a particular supervisor because of anxiety
   17   and stress related to the supervisor’s standard oversight of job performance. The
   18   court held that stress and anxiety stemming from plaintiff’s work-related
   19   interactions with human resources and her manager was not a FEHA-recognized
   20   disability. Id at 84.
   21          Here, as in Higgins, Plaintiff merely alleges that she suffered from “anxiety
   22   due to her work.” (See Complaint ¶ 61.) Plaintiff’s Complaint fails to allege any
   23   other “disability” from which she suffered. Because “anxiety” does not constitute
   24   a “disability” under the FEHA, Plaintiff’s Fourth, Fifth, and Sixth Causes of Action
   25   should be dismissed. See Striplin v. Shamrock Foods Co., Inc., (9th Cir. 2018) 731
   26   F. App’x 618, 620 (citing Higgins, “The district court also properly granted
   27   summary judgment on [the plaintiff’s] discrimination claims under the Fair
   28   Employment and Housing Act (“FEHA”) because workplace stress related to the
                                         15
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    1   employee’s job performance is not a cognizable disability under FEHA”); Estrada
    2   v. Gate Gourmet, Inc., (C.D. Cal. Dec. 6, 2017) No. CV171100MWFFFMX, 2017
    3   WL 7803787, at *6 (same); Burch v. California Dep’t of Motor Vehicles, (E.D. Cal.
    4   Aug. 17, 2017) No. 2:13-CV-01283-TLN-DB, 2017 WL 3537242, at *5 (same).
    5          E.      Plaintiff’s Seventh Cause of Action is Barred Because Plaintiff
    6                  Fails to State a Claim for Which She Is Entitled to Relief
    7                  1.    Plaintiff Failed to Exhaust the District’s Internal Grievance
    8                  Procedures
    9          The rule of exhaustion of administrative remedies is well established in
   10   California jurisprudence. Campbell v. Regents of University of California (2005)
   11   35 Cal.4th 311, 321; Johnson v. City of Loma Linda (2000) 24 Cal.4th 61, 70;
   12   Westlake Community Hosp. v. Superior Court (1976) 17 Cal.3d 465. In brief, the
   13   rule is that exhaustion of administrative remedies is a jurisdictional prerequisite to
   14   resort to the Court. Johnson v. City of Loma Linda, supra, 24 Cal.4th at 70. Indeed,
   15   the history of decisions of the California Supreme Court represent “a respect for
   16   internal grievance procedures and the exhaustion requirement where the
   17   Legislature has not specifically mandated its own administrative review process.”
   18   Terris v. County of Santa Barbara (2018) 20 Cal.App.5th 551, 558, review denied
   19   (May 23, 2018).
   20          The exhaustion of administrative remedies requirement applies to statutory
   21   administrative remedies as well as internal grievance procedures of public and
   22   private organizations. Westlake Community Hosp. v. Superior Court, supra, 17
   23   Cal.3d at 474-77. When a public entity establishes an internal grievance mechanism
   24   for employees, failure to exhaust those internal remedies precludes any subsequent
   25   private civil action. Palmer v. Regents of University of California (2003) 107
   26   Cal.App.4th 899; Campbell v. Regents of University of California, supra, 35 Cal.
   27   4th at 311; Terris v. County of Santa Barbara, supra, 20 Cal.App.5th at 551.
   28   ///
                                                 16
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    1          For example, in Campbell, a university employee filed suit against the
    2   university for retaliatory termination under Cal. Gov. Code section 12653(c) and
    3   Cal. Lab. Code section 1102.5. Campbell v. Regents of University of California,
    4   supra, 35 Cal. 4th at 311. The California Supreme Court affirmed the sustaining of
    5   a demurrer and held that a university employee must exhaust university internal
    6   administrative remedies before filing suit in superior court for retaliatory
    7   termination. Id at 317. In so holding, the Court reasoned that “the [e]xhaustion of
    8   administrative remedies is a jurisdictional prerequisite to resort to the courts” and
    9   “the rule is not a matter of judicial discretion, but is a fundamental rule of
   10   procedure… binding upon all courts.” Id at 327. In addition, the Court noted that
   11   the exhaustion requirement exists for good reason. “The purpose of requiring
   12   exhaustion of internal administrative remedies is twofold: (1) to provide notice to
   13   the employer that a claim is going to be made against it; and (2) to eliminate or
   14   mitigate damages by allowing the employer to determine whether or not an error
   15   had been made and reversing any such decision as appropriate.” Id at 328, quoting
   16   Westlake Community Hosp. v. Superior Court, supra, 17 Cal.3d at 465.
   17          Similarly, in Terris v. County of Santa Barbara, the Court held that a former
   18   county employee was barred from bringing suit against the public entity under
   19   Labor Code section 1102.5 because she was required to exhaust the county’s
   20   internal grievance procedures prior to doing so. Terris, supra, 20 Cal.App.5th at
   21   559.
   22          Here, the District has established procedures for employees to follow should
   23   they dispute disciplinary actions taken against them, such as the discharge of their
   24   employment. (RJN, Exh. A., p. 13-15; Norman Decl., par. 4, Exh. A, p. 13-15).
   25   Plaintiff, a public employee, received a notice of proposed discharge from the
   26   District and she chose not to respond. (RJN, Exh. A., p. 13-15; RJN, Exh. E;
   27   Norman Decl., par. 4, Exh. A, p. 13-15; Norman Decl., par. 9, Exh. E). The notice
   28   provided that there was evidence Plaintiff had engaged in misconduct. (RJN, Exh.
                                                17
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    1   A., p. 1-5; Norman Decl., par. 4, Exh. A, p. 1-5). The notice also informed Plaintiff
    2   that if she did not timely respond to Notice, a termination decision would be made
    3   without her input. (RJN, Exh. A., p. 6; Norman Decl., par. 4, Exh. A, p. 6). Despite
    4   being confronted with the mounting evidence of her misconduct, notice of potential
    5   termination, and being given the opportunity to meaningfully respond at a hearing,
    6   Plaintiff did nothing. (RJN, Exh. E; Norman Decl., par. 9, Exh. E).
    7          It is anticipated that Plaintiff will argue that she is not required to exhaust
    8   the District’s internal administrative remedies because after the Campbell decision
    9   the California Labor Code was amended to include Section 244, subdivision (a)
   10   which provides that “An individual is not required to exhaust administrative
   11   remedies or procedures in order to bring a civil action under any provision of this
   12   code....” However, in Terris, the Court clarified that the phrase “administrative
   13   remedies” in section 244(a) refers to Labor Commissioner claims. Terris v. County
   14   of Santa Barbara, supra, 20 Cal.App.5th at 556. Thus, by enacting section 244 (a),
   15   the Legislature did not overturn Campbell. Id at 558. Rather, it eliminated the
   16   requirement that a claim must first be bought before the Labor Commissioner
   17   before filing a civil action. Id (emphasis added.)
   18          As such, having essentially waived her rights to contest her discharge for
   19   cause, Plaintiff cannot now attempt to circumvent the District’s internal grievance
   20   procedures by filing the instant lawsuit. Moreover, as the court noted in Westlake
   21   Community Hospital, supra, 17 Cal.3d at 476, Plaintiff must not be permitted to try
   22   to increase damages by circumventing Defendant’s internal grievance procedures.
   23   Plaintiff has not alleged facts showing that she exhausted the District’s internal
   24   grievance procedures. Thus, Plaintiff’s Labor Code section 1102.5 whistleblower
   25   retaliation claim is barred for failure to exhaust internal grievance procedures and
   26   because Plaintiff cannot amend the Complaint to allege exhaustion, this cause of
   27   action should be dismissed without leave to amend.
   28   ///
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                                        DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
                                                      CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 34895988.1
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    1                  2.    No Evidence Supports Plaintiff’s Whistleblower Retaliation
    2                  Cause of Action
    3          Like Plaintiff’s federal retaliation claims, the whistleblower retaliation
    4   action requires Plaintiff to demonstrate that she engaged in protected activity.
    5   Patten v. Grant Joint Union High School Dist. (2005) 134 Cal. App.4th 1378, 1384-
    6   1385; Edgerly v. City of Oakland (2012) 211 Cal.App.4th at 1204. Plaintiff does
    7   not do so in support of her Labor Code section 1102.5 claim.
    8          In Patten, a principal sued a school district for whistleblower retaliation for
    9   disclosing improprieties at her school. Id at 1385. In particular, she alleged she
   10   made four separate whistleblower disclosures, for which indisputably encompassed
   11   only the context of internal personnel matters: (1) disclosing to a state senator that
   12   her school had engaged in budgetary improprieties by reassigning funds that were
   13   earmarked by the state for a certain purpose to another educational program; (2)
   14   disclosing accusations to her district superiors that a male physical education
   15   teacher was peering into the girls’ locker room; (3) disclosing to her superiors
   16   certain off-color remarks made by a male science teacher; and (4) requesting
   17   additional staff to keep the campus safe. Id. at 1382.
   18          The court held that except for the budgetary disclosure, the disclosures
   19   concerning teachers’ conduct and lack of staff “do not rise to the level of blowing
   20   a whistle” but were made in “the context of an internal personnel matter based on
   21   a student complaint, rather than in the context of a legal violation.” Id at 1385. The
   22   court explained that the disclosures involving the two teachers did not amount to
   23   whistleblowing because “although the disclosures were made by a government
   24   employee ... to a government agency ... the disclosures indisputably encompassed
   25   only the context of internal personnel matters involving a supervisor and her
   26   employee, rather than the disclosure of a legal violation.” Id at 1384–1385.
   27          Similarly, in Edgerly, a former city administrator sued the City for wrongful
   28   termination, claiming retaliation under Labor Code section 1102.5 for her refusal
                                                19
                                         DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
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    1   to violate the City’s charter, municipal code, and civil service rules and resolutions.
    2   As city administrator, Edgerly had authority over various City departments and
    3   personnel, including the police department. She was also responsible for the City’s
    4   budget and expenditures. If Edgerly had any concerns about the allocation of City
    5   funds, she would confer with the city attorney’s office. Id at 1196. In the course of
    6   carrying out her duties as city administrator, Edgerly questioned several expense
    7   reimbursement requests. Id. Edgerly claimed the reason for her termination was the
    8   questioning of said expenses. Id.
    9          The Court held that Edgerly failed to state a claim for whistleblower
   10   retaliation under Labor Code section 1102.5. Id at 1205. The court explained, “it
   11   was part of Edgerly’s general job description to take the actions that she alleged
   12   she took to enforce Oakland’s municipal laws” [and] “[t]aken to its logical
   13   conclusion, Edgerly’s argument [would mean] that as she routinely acted on each
   14   city official’s expense reimbursement requests, each rejection constituted a per se
   15   violation of section 1102.5, no matter how trivial or routine each rejection was.” Id
   16   at 1203. The court continued, “[t]his interpretation strains logic and, if adopted,
   17   could have a serious impact on the workings of the City and other charter cities. Id.
   18          As discussed above, Plaintiff cannot show that the complaints she made
   19   regarding Professors Nakajima and Gerwig constituted anything other than her
   20   merely doing her job. Id (to allow employees merely doing their job to claim
   21   whistleblower retaliation would “thrust the judiciary into micromanaging
   22   employment          practices   and    create    a   legion   of   undeserving   protected
   23   ‘whistleblowers’ arising from the routine workings and communications of the job
   24   site.) Accordingly, for the same reasons discussed above with respect to Plaintiff’s
   25   First and Second Causes of Action, Plaintiff’s Seventh Cause of Action fails for
   26   failing to engage in any protected activity.
   27   ///
   28   ///
                                                        20
                                              DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
                                                            CASE NO. 3:18-CV-02877-AJB-MSB
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    1   IV.    CONCLUSION
    2          Based on the foregoing, Defendant respectfully requests the court grant its
    3   motion to dismiss as to all causes of action without leave to amend.
    4    Dated: January 10, 2019                     Respectfully submitted,
    5                                                FISHER & PHILLIPS LLP
    6                                         By: /s/ Adam F. Sloustcher
                                                   Regina A. Petty
    7                                              Adam F. Sloustcher
    8                                              Attorneys for Defendant
                                                   Palomar Community College District
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                                       DEF’S MEMO OF P’S & A’S RE MOTION TO DISMISS
                                                     CASE NO. 3:18-CV-02877-AJB-MSB
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    1                            CERTIFICATE OF SERVICE
    2         I, the undersigned, am employed in the County of San Diego, State of
        California. I am over the age of 18 and not a party to the within action; am employed
    3   with the law offices of Fisher & Phillips LLP and my business address is
        4747 Executive Drive, Suite 1000, San Diego, California, 92121.
    4
              On January 10, 2019, I served the foregoing document entitled
    5
        DEFENDANT PALOMAR COMMUNITY COLLEGE DISTRICT’S
    6   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
        MOTION TO DISMISS PURSUANT TO F.R.C.P. RULES 12(B) AND
    7
        12(B)(6) on all the appearing and/or interested parties in this action by placing
    8   the original     a true copy thereof enclosed in sealed envelope(s) addressed as
        follows:
    9
         Evan Dwin                                 Telephone: (760) 536-6471
   10    DWIN LEGAL, APC                           Facsimile: (760) 585-4649
         2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
   11    Carlsbad, CA 92011                        Attorneys for Plaintiff
                                                   Kathryn Kailikole
   12
             [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
   13         via the United States District Court’s Electronic Filing Program on the
              designated recipients via electronic transmission through the CM/ECF
   14         system on the Court’s website. The Court’s CM/ECF system will generate a
              Notice of Electronic Filing (NEF) to the filing party, the assigned judge, and
   15         any registered users in the case. The NEF will constitute service of the
              document(s). Registration as a CM/ECF user constitutes consent to electronic
   16         service through the court’s transmission facilities.
             [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s
   17         practice for collection and processing of correspondence for overnight
              delivery. Under that practice such correspondence will be deposited at a
   18         facility or pick-up box regularly maintained by the overnight service for
              receipt on the same day in the ordinary course of business with delivery fees
   19         paid or provided for in accordance with ordinary business practices.

   20         I declare that I am employed in the office of a member of the bar of this
        Court at whose direction the service was made.
   21        Executed January 10, 2019, at San Diego, California.
   22                                       By:
          Michael Lynn Filio
   23

   24

   25

   26

   27

   28
                                            1
                                  CERTIFICATE OF SERVICE
        FPDOCS 34895988.1
